     Case 2:23-cr-00221-JAD-DJA           Document 75    Filed 12/17/24     Page 1 of 6



 1   JASON M. FRIERSON
     United States Attorney
 2   Nevada Bar No. 7709
     District of Nevada
 3   JACOB H. OPERSKALSKI
     Assistant United States Attorney
 4   Nevada Bar Number 14746
     501 Las Vegas Blvd. South, Suite 1100
 5   Las Vegas, Nevada 89101
     PHONE: (702) 388-6336
 6   jacob.operskalski@usdoj.gov
     Representing the United States of America
 7
                                 UNITED STATES DISTRICT COURT
 8
                                      DISTRICT OF NEVADA
 9
     UNITED STATES OF AMERICA,
10
                             Plaintiff,                     Case No.: 2:23-cr-00221-JAD-DJA
11
                 vs.                                       MEMORANDUM IN SUPPORT
12                                                         OF GUILTY PLEA WITHOUT
     JOHN ANTHONY MILLER,                                      PLEA AGREEMENT
13
                             Defendant.
14

15          There is no plea agreement in this case. Government counsel was notified that the

16   defendant, John Anthony Miller, intends to enter a plea of guilty without the benefit of a plea

17   agreement. ECF No. 73. The defendant provided that notice in a timely manner, which

18   allowed the Government to avoid preparing for trial and to efficiently allocate resources.

19          This Memorandum is to aid the Court in advising the defendant of the consequences of

20   a guilty plea under Federal Rules of Criminal Procedure 11(b).

21          On November 21, 2023, a Federal Grand Jury returned an Indictment charging Miller

22   with one count of threatening a federal official in violation of 18 U.S.C. § 115(a)(1)(B), and two

23   counts of influencing, impeding, or retaliating against a federal official by threatening a family

24   member in violation of 18 U.S.C. § 115(a)(1)(A) for his actions in threatening United States


                                                     1
     Case 2:23-cr-00221-JAD-DJA         Document 75      Filed 12/17/24     Page 2 of 6



 1   Senator 1, the family of United States Senator 1, and the family of United States Senator 2.
 2   ECF No. 25.
 3                                             PENALTY
     Statutory:
 4
            The maximum penalty for each violation of 18 U.S.C. § 115(a)(1)(A) and (B) is 10 years
 5
     imprisonment; a 3-year period of supervised release; a fine of $250,000 or twice the gross gain
 6
     or gross loss resulting from the offense, whichever is greatest; and a mandatory special
 7
     assessment of $100.
 8
            Accordingly, the defendant faces a maximum penalty of 30 years of imprisonment, a 9-
 9
     year period of supervised release, a $750,000 fine or twice the gross gain or gross loss resulting
10
     from the offenses, and $300 in mandatory special assessments.
11
     Sentencing Guidelines:
12
            The sentence imposed will be imposed pursuant to 18 U.S.C. § 3553(a). In determining
13
     the sentence, the Court must consider the United States Sentencing Guidelines. However, those
14
     Guidelines are only advisory and are just one factor for the Court to consider in arriving at a
15
     fair, just, and reasonable sentence. The length and terms of that sentence depend upon the
16

17   nature and number of previous criminal convictions which are used to determine the advisory

18   offense level and criminal history category under the Sentencing Guidelines. After the Court

19   makes this decision, it then may impose a sentence within the applicable Guideline range or

20   any sentence the Court deems reasonable, and sufficient, but not greater than necessary, to

21   comply with the purposes of 18 U.S.C. § 3553(a).

22          A federal prison sentence can no longer be shortened by early release on parole because

23   parole has been abolished. Under U.S.S.G. § 5D1.1, a term of supervised release following

24


                                                     2
     Case 2:23-cr-00221-JAD-DJA          Document 75        Filed 12/17/24   Page 3 of 6



 1   imprisonment is required when the term of imprisonment is more than one year.1 Pursuant to
 2   18 U.S.C. § 3559(a)(3), these are Class C felonies. Because these are Class C felonies, if a term
 3   of supervised release is imposed in this matter, the term shall be at least one year but not more
 4   than three years per count under U.S.S.G. § 5D1.2(a)(2).
 5          Under the provisions of U.S.S.G. § 5E1.2, a fine must be imposed, depending upon the
 6   Court’s finding of the appropriate Offense Level within a range to be determined by the
 7   Guidelines. However, U.S.S.G. § 5E1.2(e) allows the District Court to waive the fine, impose a
 8   lesser fine or an alternative sanction, such as community service, if the defendant establishes he
 9   does not have the ability to pay a fine and is not likely to become able to pay any fine.
10          A mandatory special assessment under 18 U.S.C. § 3013 and U.S.S.G. § 5E1.3 of
11   $100.00 must be imposed for each count, for a total of $300.00.
12
                                     ELEMENTS OF THE OFFENSE
13
            Before verdicts of guilty may be reached, the Government would have to prove the
14
     essential elements of Counts 1-3 beyond a reasonable doubt as follows:
15
            Count One: 18 U.S.C. § 115(a)(1)(B) – Threatening a federal official:
16
            First: The defendant threatened to murder a United States official
17
            Second: The defendant did so with intent to impede, intimidate, or interfere with the
18
     United States official while she was engaged in the performance of official duties
19
            OR
20
            The defendant did so with intent to retaliate against the United States official on account
21
     of the performance of her official duties.
22
     Ninth Circuit Model Criminal Jury Instruction 8.15 (2022).
23

24
     1
      The requirement does not apply if the defendant is a deportable alien who is likely to be
     deported after imprisonment. This exception does not appear to be applicable here.

                                                       3
     Case 2:23-cr-00221-JAD-DJA          Document 75        Filed 12/17/24   Page 4 of 6



 1          Counts Two – Three: 18 U.S.C. § 115(a)(1)(A) – Influencing, impeding, or retaliating
 2   against a federal official by threatening a family member:
 3          First: The defendant threatened to murder a member of the immediate family of a
 4   United States Official; and
 5          Second: The defendant did so with intent to impede, intimidate, or interfere with the
 6   United States official while she was engaged in the performance of official duties
 7          OR
 8          The defendant did so with intent to retaliate against the United States official on account
 9   of the performance of her official duties.
10   Ninth Circuit Model Criminal Jury Instruction 8.15 (2022).
11   “‘United States official’ means the President, President-elect, Vice President, Vice President-
12
     elect, a Member of Congress, a member-elect of Congress, a member of the executive branch
13
     who is the head of a department listed in 5 U.S.C. § 101, or the Director of the Central
14
     Intelligence Agency.” 18 U.S.C. § 115(c)(4).
15
                              FACTS TO SUPPORT A PLEA OF GUILTY
16
            From October 11-25, 2023, John Anthony Miller called two United States Officials
17
     (United States Senators 1 and 2) and left a barrage of threatening voicemails for both officials.
18
            Count One: On or about October 17, 2023, Miller left a number of voicemails for United
19
     States Senator 1. Among other things, Miller stated:
20
        •   “You just fucking woken up a motherfucking monster, you fucking piece of shit
21
            unhuman, subhuman, you’re vermin, bitch, you are vermin, bitch, and we’re gonna
22
            finish what Hitler started you fucking slut.”
23
        •   “You done picked your side bitch and you done chose evil. I don’t give a fuck if you
24
            were born into it or not, bitch, you are fucking evil, bitch and we’re gonna exterminate

                                                       4
     Case 2:23-cr-00221-JAD-DJA         Document 75       Filed 12/17/24      Page 5 of 6



 1          you, fuck.”
 2          John Miller intended that his words be heard as a threat to kill United States Senator 1.
 3   He made this threat with intent to impede, intimidate, and interfere with United States Senator
 4   1 while she was engaged in the performance of official duties, and he did so with intent to
 5   retaliate against United States Senator 1 on account of the performance of her official duties.
 6          Count 2: On or about October 24, 2023, Miller left another voicemail for United States
 7   Senator 1. After another violent rant, Miller stated: “Why don’t you come arrest me then,
 8   fuckin bitch, fuckin bitch, your family’s not safe no more bitch. You just put your whole fuckin
 9   family in danger, bitch, you better fly them out there to fuckin Israel too.”
10            John Miller intended that his words be heard as a threat to kill the immediate family of
11   United States Senator 1. He made this threat with intent to impede, intimidate, and interfere
12   with United States Senator 1 while she was engaged in the performance of official duties, and
13   he did so with intent to retaliate against United States Senator 1 on account of the performance
14
     of her official duties.
15
            Count 3: On or about October 25, 2023, Miller left a violent voicemail for United States
16
     Senator 2 that ranted about wanting her to live forever “…so you don’t have to worry nothing
17
     about me, your family on the other hand, and shit, that’s another thing, and shit, good luck
18
     with that, bitch, you think, you-er-knowhatImean, you’re gonna have security for them?”
19
            John Miller intended that his words be heard as a threat to kill the immediate family of
20
     United States Senator 2. He made this threat with intent to impede, intimidate, and interfere
21
     with United States Senator 2 while she was engaged in the performance of official duties, and
22
     he did so with intent to retaliate against United States Senator 2 on account of the performance
23
     of her official duties.
24
     \\


                                                      5
     Case 2:23-cr-00221-JAD-DJA       Document 75       Filed 12/17/24    Page 6 of 6



 1         Miller made all of these threats while he was located in the State and Federal District of
 2   Nevada.
 3         DATED this 17th day of December, 2024.
 4
                                                       JASON M. FRIERSON
 5                                                     United States Attorney
 6                                                     Jacob H. Operskalski
                                                       JACOB H. OPERSKALSKI
 7                                                     Assistant United States Attorney
 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24


                                                   6
